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  NOT FOR PUBLICATION

                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



  IN RE DUCTILE IRON PIPE FITTING
  ("DIPF") INDIRECT PURCHASER                     Civ. No. 12-169
  ANTITRUST LITIGATION


  THOMPSON, U.S.D.J.
          ORDER APPROVING (1) AWARD OF ATTORNEYS' FEES,
     (2) REIMBURSEMENT OF EXPENSES, AND (3) SERVICE AWARDS

        THIS MATTER, having come before the Court on the Indirect Purchaser

  Plaintiffs' ("IPPs") Motion for Attorneys' Fees, Reimbursement of Litigation

  Expenses, and Service Awards, filed on May 9, 2018 (ECF No. 338);

        And the Court, having reviewed the motion and its accompanying

  memorandum, supporting declarations, and the file;

        And, the Court having separately granted final approval to settlements entered

  between IPPs and McWane, Inc. and its divisions Clow Water Systems Co., Tyler

  Pipe Company, and Tyler Union, Star Pipe Products, Ltd., and SIGMA Corp. (the

  "Settlements");

        And good cause having been shown;
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        ITIS ON THIS          13th   DAY OF _June_, 2018, HEREBY

  ORDERED, ADJUDGED AND DECREED:

         1.       The notice adequately and reasonably afforded Settlement Class

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       members the opportunity to object to the proposed request for an award of attorneys'

       fees, reimbursement of litigation expenses, and service awards to the class

       representatives. No objections were filed.

             2.     The Settlements confer a substantial benefit on the indirect purchaser

       Settlement Clas-ses.

             3.     Interim Co-Lead Counsel have described the vigorous and effective

       pursuit of the IPPs' claims before this Court. Those efforts included, among other

       things: (i) a thorough investigation of potential claims against Mc Wane, Star, and

       SIGMA; (ii) development, review, and analysis of the discovery record,

       which included documents produced by defendants; (iii) preparation for and

       participation in depositions of plaintiffs, defendants, and experts; (iv) research for

       and drafting of consolidated and amended complaints; (v) extensive briefing and

       oral argument on the motions to dismiss and the class certification motion; (vi)

       discovery of third-parties; (vii) working with an expert to prepare a class and

       merits damages report; (viii) opposing McWane's motion to exclude IPPs'

       expert's   opinions;   (ix) appearances before the Court in person and by

       telephone for motions and status conferences; (x) mediations with all the

       defendants before well-qualified mediators; and (xi) negotiating the terms of

       the Star, SIGMA, and         McWane Settlement Agreements and preparing the

       required settlement documents.


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                  4.     In granting IPPs' request for an award of attorneys' fees, I have

            considered the factors in In re Prudential Ins. Co. Am. Sales Practice Litig. Agent

            Actions, 148 F.3d 283, 333 (3d Cir. 1998) and Gunter v. Ridgewood Energy Corp.,

            223 F.3d 190, 195 n.1 (3d Cir. 2000): (1) the size of the fund created and the number

            of persons benefitted; (2) the presence or absence of substantial objections by

            members of the class to the settlement terms or fees requested by counsel; (3) the

            skill and efficiency of the attorneys involved; (4) the complexity and duration of the

            litigation; (5) the risk of nonpayment; (6) the amount of time devoted to the case by

            IPPs' counsel; (7) awards in similar cases; (8) the value of benefits attributable to

            the efforts of class counsel relative to the efforts of other groups; (9) the percentage

            fee that would have been negotiated in a private contingent fee arrangement; and ( 10)

            any innovative settlement terms.

                  5.     The Court finds that the requested fee of one-third of the total amount

            of the Star, SIGMA, and McWane settlements is fair and reasonable and within the

            range of fees ordinarily awarded in this district and throughout the Third Circuit. The

            Court, therefore,   grants Interim Co-Lead Counsel attorneys'              fees   in the

            amount of $1,357,083.33.        Interim Co-Lead Counsel is hereby authorized to

            allocate the fee awarded by the Court among all other counsel who rendered

            professional services on behalf of the IPPs in a manner which, in Interim Co-Lead

            Counsel's opinion, fairly reflects the benefit of the services rendered.


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          6.    The Court also grants Interim Co-Lead Counsel reimbursement of

  litigation expenses of $87,270.35 to be distributed to the firms that incurred such

  expenses. The Court finds that these expenses were necessary, reasonable, and

  proper in the pursuit of this litigation.

          7.    The proposed class representatives were extensively involved in this

  case and devoted substantial time and energy to their duties, including working with

  counsel to understand the workings of the DIPF market, collecting relevant

  documents, responding to interrogatories, and preparing and sitting for depositions.

  The Court therefore grants service awards of$15,000 each to Yates Construction Co.,

  Inc., South Huntington Water District, Waterline Industries Corp., City of Hallandale

  Beach, Wayne County, T.C. Construction Company, Water District No. 1 of Johnson

  County, and the Village of Woodbridge, payable from the settlement funds, for their

  efforts in this litigation and their roles in bringing about the recovery on behalf of the

  IPPs.




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